                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

IN RE:                                )
SHARON ROSE                           )       CASE NO. 23-20197
         Debtor                       )       CHAPTER 13

                     ORDER FOR SUBSTITUTION OF COLLATERAL

       This cause came before the Court on Debtor’s Motion for Substitution of Collateral. The
Court being duly advised in the premises, finds that the vehicle owned by the Debtor, which is the
collateral for the indebtedness to 1st Source Bank, is necessary for the Debtor’s reorganization and
that the Debtor’s should be allowed to use the insurance proceeds from the damage to purchase a
replacement vehicle. Therefore, it is ordered:

       1.      That the Debtors are authorized to use the insurance proceeds of $20,694.00 to
               purchase a replacement vehicle.

       2.      That Allstate Insurance Company, the insurance company issuing payment, shall
               issue same payable to “Paul R. Chael, Standing Chapter 13 Trustee” for deposit into
               the Debtor’s Chapter 13 Proceeding.

       3.      That Creditor, 1st Source Bank, shall release its lien on the damaged vehicle so that
               the title can be delivered to the insurance company for salvage.

       4.      That the Debtor is authorized to transfer title to the old vehicle to the insurance
               company, if necessary.

       5.      That the Trustee approves Debtor’s purchase of a replacement vehicle with said
               insurance proceeds and, upon approval of said transaction, will issue his check
               payable to the vendor of said automobile.

       6.      That the vendor shall place the lien of Creditor, 1st Source Bank, on the title of said
               replacement vehicle as first lien holder.

       7.      That the Trustee’s check issued to the vendor shall contain a restrictive endorsement
               that the endorsement of said check by the vendor constitutes a warranty that they
               have placed the lien of 1st Source Bank on the title of the newly purchased vehicle of
               the Debtor.

       8.      That any insurance proceeds, above the amount needed for the purchase of the new
               vehicle will be held for the benefit of 1st Source Bank in the event the case is
               dismissed.
SO ORDERED.


         Date:
                                                JUDGE, U.S. BANKRUPTCY COURT

Distribution:

1st Source Bank
ATTN: Chief Officer or Agent
100 N. Michigan St., 4th Floor
South Bend, IN 46601

Allstate Insurance Company
PO Box 660636
Dallas, TX 75266

Debtor

Paul R. Chael, 401 West 84th Drive, Suite C, Merrillville, IN 46410 @ ECF@pchael13.com

U.S. Trustee, 100 E. Wayne St., South Bend, IN 46601 @
ustpregion10.so.ecf@usdoj.govUNITED
